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          EXHIBIT 37
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                                                                                                 A MORE JUST




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                                                                                                 NEW YORK CITY
                                                                                                 Independent Commission on New York City
                                                                                                 Criminal Justice and Incarceration Reform




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A MORE JUST
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  Dear Fellow New Yorkers:

  As the chairman of the Independent Commission on New York City Criminal Justice and Incarceration
  Reform, it is my pleasure to share with you this report.
     New York City Council Speaker Melissa Mark-Viverito called the Commission into existence just
  over a year ago. Since that time, the 27 members of the Commission—along with our research and
  strategic partners from the private and non-profit sectors—have worked diligently to study the criminal
  justice system in New York City, with a particular focus on what should be done with Rikers Island. We
  heard from a broad array of stakeholders, including prosecutors, clergy, public defenders, correction
  officers, civil rights leaders, victim advocates, elected officials, community leaders, the formerly
  incarcerated, and their families. We sought input from New York residents through our website and at
  numerous public meetings in each of the five boroughs. And we conducted independent and in-depth
  analysis of the available data and research.
     The perspectives and voices we solicited were diverse. There was disagreement on many issues.
  But there was one important common thread across what we heard: our criminal justice system
  requires dramatic change.
     We entered the process with no predetermined judgment. I asked the members of the
  Commission—law enforcement officials, business leaders, judges, academics, and community
  activists alike—to look at the justice system with a fresh set of eyes. We let the facts be our guide as
  we examined both the successes and the failures of recent years.
     But we have done more than just look at what was—we have sought to articulate what could be.
     The result is a vision of a twenty-first century criminal justice system that all New Yorkers can be
  proud of. This system will be animated by a new set of affirmative goals—keeping people safe, aiding
  victims, responding to community needs, and crafting proportionate, meaningful, and compassionate
  responses to unlawful behavior.
     The report that follows is the product of a unified Commission. In laying out this blueprint, we build
  on a solid foundation. For more than 20 years, New York City has successfully driven down both crime
  and incarceration. The City has proven that more jail does not equal greater public safety. Indeed,
  an emerging body of research suggests that jail can actually make us less safe, leading to more
  criminal behavior and undermining the health of families and communities alike.
     We believe that a twenty-first century justice system must acknowledge the multiple harms that
  incarceration, and Rikers Island in particular, has caused hundreds of thousands of New Yorkers, their
  families, and their communities. And it must acknowledge that these harms fall disproportionately on
  communities of color. To heal and restore hope, jail must become a last resort rather than the path of
  least resistance.
     Dramatically reducing incarceration is just part of the larger project of reimagining justice, however.
  Going forward, the idea of community justice must become standard operating practice—investing in
  New York City neighborhoods damaged by past practice and creating stronger links between criminal
  justice agencies and the people they exist to serve. Going forward, every decision and interaction—
  whether on the street, in the courthouse, or behind the walls of our jails—must seek to advance the
  fundamental values of dignity and respect. And going forward, we must close the jail complex on
  Rikers Island. Period.
     Rikers Island is a stain on our great City. It leaves its mark on everyone it touches: the correction
  officers working back-to-back shifts under dangerous conditions, the inmates waiting for their day in
  court in an inhumane and violent environment, the family members forced to miss work and travel long
  distances to see their loved ones, the attorneys who cannot easily visit their clients to prepare a defense,
  and the taxpayers who devote billions of dollars each year to keep the whole dysfunctional apparatus
  running year after year. Put simply, Rikers Island is a 19th century solution to a 21st century problem.
     We reviewed, studied, and debated every possible solution to the problem of Rikers. We have
  concluded that simply reducing the inmate population, renovating the existing facilities, or increasing
  resources will not solve the deep, underlying issues on Rikers Island. We are recommending, without
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hesitation or equivocation, permanently ending the use of Rikers Island as a jail facility in any form
or function.
    Closing Rikers Island is far more than a symbolic gesture. It is an essential step toward a more
effective and more humane criminal justice system. We must replace our current model of mass
incarceration with something that is more effective and more humane—state-of-the-art facilities
located closer to where the courts are operated in civic centers in each borough.
    Rikers Island is not just physically remote—it is psychologically isolated from the rest of New York
City. Rikers severs connections with families and communities, with harmful consequences for anyone
who spends even a few days on the Island.
    That’s why we believe that a smaller, borough-based jail system is critical. Our future jails must
promote the safety and well-being of both correction officers and the individuals they supervise, the
vast majority of whom are awaiting trial and have been found guilty of no crime. These goals are best
served when we make clear that the point of correction is exactly that—to correct. Going forward, our
jails must work to reduce crime through rehabilitation.
    This is not just the right thing to do—it is also the fiscally prudent thing to do. Indeed, as you will
see in the pages that follow, we believe that closing Rikers Island will result in significant cost savings.
It will also enable us to move forward as a City, boldly preparing for the challenges that the next
century will bring. Permanently ending the use of Rikers Island as a de facto penal colony will free up
the space needed for the kinds of transportation and other infrastructure projects that are crucial to
the future of our great City.
    I am acutely aware that in order to enact our recommendations, we will need courageous leadership
from our City and State officials. Creating a more just New York City will not happen overnight—and it
will not happen with the support of a single person or entity. It is now more critical than ever that we
confront the challenges ahead together. This report serves as a roadmap for what must be done.
    By working together to close Rikers Island, an international symbol of despair and damage,
New York will be a beacon of safety, humanity, and justice for cities across the country and
around the world.

Let New York City lead the way, as it has done so often in the past.

Sincerely,



The Hon. Jonathan Lippman
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                                                                                                              “MY KIDS SPEAK TO THEIR FATHER THROUGH A GLASS
‘The Land That Time Forgot’                               The burden of visiting family members




                                                                                                               WALL WITH HOLES IN IT…IT’S UNBEARABLE, REALLY”
The New York City Department of Correction            falls particularly hard on young children.
dates back to 1895. Unfortunately, as Ken Ricci,      “My daughter started visiting her father when she
a national expert in jail design, told us, “New       was two years old,” described another parent:
York City, the leader in so many ways, is currently
in the 19th century in terms of jails.”               She knew when she arrived she had to
    The first jail on Rikers Island opened in the     watch a dog walk by and smell her even
1930s. Since then, Rikers Island has expanded         though she is scared. Every time the dog
exponentially. It is in many ways a small city,       came by she would grab the stroller where
complete with a power plant, hospital, bakery,        her brother was to try and protect him. She
and other services designed to serve the tens         knows to take her hat, coat and shoes and
of thousands of people (inmates, staffers, and        put it in a bin to push through scanning. She
visitors) who spend time on the Island each day.      knows to walk through a metal detector and
    Very few, if any, of these facilities could be    wait on the other side. This process can take
described as “state-of-the-art.” Many lack air        all day. My kids speak to their father through
conditioning, making for brutal conditions during     a glass wall with holes in it. My son puts
the summer months. Leaks and water damage             his hands to the glass and tried to kiss his
are common occurrences, as are foul smells            dad but I have to explain the glass is dirty.
emanating from the parts of the Island that are       It’s unbearable, really. It feels like torture.
composed of landfill. According to one formerly
incarcerated person who testified before the          ‘We’re Also Human’
Commission: “You're living with rats, rodents         Rikers Island is not an easy place to work. Indeed,
every day if your food isn't eaten; even if you're    many correction officers and health officials find it
allowed to get food, ants are on it right away.”      dehumanizing. As one correction officer told New
    The antiquated design of Rikers undermines        York magazine, “[Rikers] has a smell. I can’t even
safety—many of the jails have poor sightlines, bad    describe it to you. Worse than a sewer. The Island
acoustics, and other features that encourage bad      is its own Island that people on the outside could
behavior. The outmoded design also creates a          never understand.”
need for more correction officers to manage the           The physical isolation of the Island creates
population.                                           hardships for correction officers. We heard stories
    According to Department of Correction             of officers sleeping in their cars between shifts
Commissioner Joseph Ponte, no one would               rather than driving home to be with their families.
choose to build something like Rikers Island              Working conditions on Rikers Island are
today. In his words, Rikers Island is “almost the     difficult. “We deal with a lot of mental and physical
land that time forgot.”                               abuse, from your inmates to your superiors,” said
                                                      a correction officer. This includes incidents of
‘Torture Island’                                      “splashing”—inmates hurling urine and feces.
Some of the most moving testimony about               It also includes acts of violence, with inmates
Rikers Island came from family members with           taking advantage of the failing physical plant to
experience visiting their children or partners.       fashion makeshift weapons. In testimony before
The isolation of Rikers Island, which is only         the Commission, Elias Husamudeen, President of
accessible by a single city bus line and requires     the Correction Officers’ Benevolent Association,
passing through multiple security checkpoints,        stated, “We’re professionals, but we’re also
means a short visit can take an entire day.           human.”
   “It’s very exhausting to visit your loved
one at Torture Island,” said one parent to the        ‘Getting to Court on Time’
Commission. “The whole process of hours of            The process of shuttling defendants from
struggle of traveling by public transportation        Rikers Island to court—which takes hours at a
and hours of searches and waiting and                 minimum, given the distance between the Island
waiting to get that one-hour visit is just very       and courthouses across the City—imposes
deteriorating for any human to endure.”               significant financial and human costs. As one


Introduction                                                                                                                                     27
